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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )
                      v.                       )            Case No. 1:22-CR-220
                                               )
ABB LTD.                                       )            Hon. Michael S. Nachmanoff
                                               )
                      Defendant                )

       GOVERNMENT’S UNOPPOSED MOTION TO DISMISS INFORMATION

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and Paragraph 3 of the

Deferred Prosecution Agreement between the United States of America and defendant, ABB Ltd.

(“ABB” or the “Company”) dated December 2, 2022 (See ECF No. 16 (the “DPA”)), the United

States of America, by and through undersigned counsel, hereby moves to dismiss the Information

filed in the above-captioned case against defendant ABB with prejudice. In support of this motion

the Government states as follows:

       1.     On December 2, 2022, the Government filed a criminal four-count Information

charging ABB with conspiracy to commit offenses against the United States in violation of

18 U.S.C. § 371, 15 U.S.C. § 78dd-1, and 15 U.S.C. §§ 78m(b)(2)(A), 78m(b)(5), and 78ff(a), and

additional substantive violations of those statutes. See ECF No. 11 (the “Information”). In Count

One, ABB was charged with conspiracy to violate the antibribery provisions of the Foreign Corrupt

Practices Act of 1977 (“FCPA”), as amended, 15 U.S.C. § 78dd-1(a). In Count Two, ABB was

charged with conspiracy to violate the books and records provisions of the FCPA,

15 U.S.C. §§ 78m(b)(2)(A), (b)(5), and 78ff(a). In Count Three, ABB was charged with violating

the antibribery provisions of the FCPA, 15 U.S.C. § 78dd-1(a). In Count Four, ABB was charged
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with violating the books and records provisions of the FCPA, 15 U.S.C. §§ 78m(b)(2)(A), (b)(5),

and 78ff(a).

       2.      On December 2, 2022, the Government entered into a DPA with ABB, in which

the Government deferred prosecution of ABB for a period beginning on the date the Information

was filed and ending three years from that date. See DPA ¶¶ 3, 13–14. Among other obligations,

the DPA required ABB to cooperate with the Government’s investigation and pay a total criminal

monetary penalty of $315,000,000.

       3.      The DPA provided that the Government would not continue the criminal

prosecution against ABB and would move to dismiss the Information within six months of the

expiration of the DPA if ABB fully complied with all of its obligations under the DPA. See

DPA ¶ 14.

       4.      The term of the DPA is scheduled to expire on December 2, 2025.

       5.      On or about June 2, 2025, ABB’s Chief Executive Officer and Chief Financial

Officer certified to the Government that ABB has met its disclosure obligations pursuant to

paragraph 6 of the DPA.

       6.      On or about June 2, 2025, ABB’s Chief Executive Officer and Chief Integrity

Officer certified to the Government that ABB has met its compliance obligations pursuant to

paragraphs 9, 10 and 12 and Attachment C of the DPA.

       7.      Paragraph 3 of the DPA provides that, “in the event the Offices find, in their sole

discretion, that there exists a change in circumstances sufficient to eliminate the need for the

reporting requirement in Attachment D, and that the other provisions of this Agreement have been

satisfied, the Agreement may be terminated early.”

       8.      Based on the information known to the Government, ABB has fully met its

cooperation and disclosure obligations under paragraphs 5 and 6 the DPA, including full
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cooperation with the Government, implementation of a compliance program and procedures that

meet the requirements of Attachment C to the DPA, and satisfaction of the terms of the provisions

regarding enhanced corporate compliance reporting pursuant to Attachment D to the DPA.

Throughout the term of the DPA, ABB’s compliance with its obligations under the agreement has

been proactive and thorough, and the Company has devoted substantial resources to its compliance

program.      ABB has conducted multiple comprehensive assessments of risk throughout the

Company, enhanced risk surveillance, delivered enhanced training worldwide, conducted risk-

informed integrity testing, and measured the effectiveness of enhancements. In addition, ABB has

made timely payments as required by the DPA, totaling a criminal monetary penalty of

$315,000,000.

       9.        Because ABB has fully complied with all of its obligations under the DPA, the

Government has determined that early dismissal of the Information with prejudice is appropriate.

See DPA ¶¶ 3, 13–14.

       For the foregoing reasons, the Government requests that this Motion to Dismiss the

Information be granted.

                                                           Respectfully submitted,

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